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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 THOMAS PIZZO,                                    §
                                                  §
                  Plaintiff,                      §
                                                  §
 v.                                               §         Civil Action No. 4:22-CV-748
                                                  §
 HOME DEPOT U.S.A., INC.,                         §
                                                  §
                  Defendant.                      §


                         NOTICE OF RELATED CASE
_____________________________________________________________________________

         Comes now, Defendant Home Depot U.S.A., Inc., and files this Notice of Related Case in

accordance with Local Rules 3.3 and 81.1(a)(3) and respectfully shows as follows:

         The style and civil action number of the related case is: Cause No. 3442-3344780-22

styled Thomas Pizzo v. Home Depot U.S.A., Inc. in the 342nd Judicial District of Tarrant County,

Texas.

         The presiding judge of the related case is: Judge Kimberly Fitzpatrick

         Status of the related case is: pending removal.

         This case has not been dismissed or remanded so no final judgement or order remanding

the case has been entered.


                                               Respectfully Submitted,


                                                     /s/ Chad L. Farrar
                                               By: Chad L. Farrar

                                               MULLIN HOARD & BROWN, L.L.P.
                                               Chad L. Farrar, Texas Bar No. 00793716


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                                                                                  EXHIBIT B
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                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this the 25th day of August 2022, a true and correct
copy of the foregoing was served by email and ECF addressed to:

Via ECF & email
Edward S. Gaytan
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                                                    /s/ Chad L. Farrar
                                              Chad L. Farrar




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